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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ROMAN VANEGAS, DEMITRIA                          §
VANEGAS, AND LONE STAR FAST                      §
FUNDING, LLC,                                    §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §
                                                 §   Civil Action No. 5:23-cv-00497-olg
FREEDOM MORTGAGE CORPORATION                     §
                                                 §
                                                 §
                                                 §
       Defendant.                                §

                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Roman Vanegas, Demitria

Vanegas Garcia and Loan Star Fast Lending, LLC (“Plaintiffs”) and Freedom Mortgage

Corporation ("Defendant"), by and through their undersigned counsel of record, hereby stipulate

and agree that Plaintiff’s asserted claims, or claims that could have been asserted, are dismissed

with prejudice. All parties shall bear their own costs and fees.


Dated: June 26, 2023


       Respectfully submitted:

       /s/Geoffery Mayfield                          /s/Bradley Conway
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